37 F.3d 1492NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Damon Lamont CHANDLER, Plaintiff Appellant,v.John E. GREENBACKER, Jr.;  Andy Nelson, Defendants Appellees.
    No. 94-6753.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 25, 1994.Decided Oct. 13, 1994.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  James C. Turk, District Judge.  (CA-94-429)
      Damon Lamont Chandler, appellant pro se.
      W.D.Va.
      AFFIRMED.
      Before RUSSELL and MICHAEL, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Chandler v. Greenbacker, No. CA-94-429 (W.D.Va. June 2, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    